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August 6, 2019

By ECF
Hon. Paul A. Crotty
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

Re: United States v. Joshua Schulte, 17 Cr. 548 (PAC)

Hon. Judge Crotty,
        On August 2, 2019, the government through walled counsel filed a single-spaced
three-page letter “response” to the defense’s pending discovery motion dated July 18,
2019.
        Walled counsel’s response does not contain a single substantive sentence. Instead,
walled counsel took two weeks to tell the Court:
        1. The discovery request is somehow mooted by the Court’s July 22, 2019
           ruling. (It is not.)
        2. The motion for discovery is not “tailored” and therefore Mr. Schulte should
           make yet another request.
        3. That the motion for discovery to given to the litigation team at the USAO as it
           does not disclose any defense strategy.
This reply by walled counsel disregards the Court’s directive. During the July 25, 2019
appearance, the Court specifically rejected the argument (by Mr. Kamaraju) that the
response should be filed by the litigation team. The Court ruled:
        “I tell you what I am willing to do is take the response from the wall team and
consider it, and depending upon whether it answers the questions that I have, because
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frankly, and with respect to your (defense) expert’s affidavit, I don’t fully understand the
grasp of the intricacies of the defense that he is raising.” The Court went on to say, “On
August 2, the date for the response, I’ll take the response from the wall team.” Exhibit A,
Transcript of July 25, 2019 proceeding. Despite the Court’s directive, walled counsel has
(after two full weeks) not provided a substantive response. The Court should sanction
walled counsel by granting the defense’s July 18, 2019 discovery motion, or,
alternatively, order walled counsel, again, to substantively respond to the defense’s
motion for discovery.



                                              Respectfully submitted,

                                              /s/
                                              Sabrina Shroff & Edward Zas
                                              Counsel for Joshua Schulte

cc: All counsel
